                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-MC-00136-RJC-DSC


 DENTSPLY SIRONA INC.,                            )
                                                  )
                  Petitioner,                     )
                                                  )                     ORDER
 v.                                               )
                                                  )
 ALIGN TECHNOLOGY INC.,                           )
                                                  )
                 Respondent.                      )



       THIS MATTER is before the Court on the “Motion[s] for Admission Pro Hac Vice and

Affidavit[s] [for Reid M. Bolton and Anastasiya Maoine]” (documents ##5-6) filed September 17,

2020. For the reasons set forth therein, the Motions will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Robert J. Conrad, Jr.


       SO ORDERED.                   Signed: September 18, 2020




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